Case 23-40261-elm11            Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21           Desc Main
                                        Document     Page 1 of 22


J. Robert Forshey
State Bar No. 07264200
Lynda L. Lankford
State Bar No. 11935020
FORSHEY & PROSTOK LLP
777 Main St., Suite 1550
Fort Worth, TX 76102
Telephone: 817-877-8855
Facsimile: 817-877-4151
bforshey@forsheyprostok.com
llankford@forsheyprostok.com

PROPOSED ATTORNEYS FOR THE
DEBTOR AND DEBTOR-IN-POSSESSION


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION


In re:                                                    )       Chapter 11 Case
                                                          )
SANOTECH 360, LLC,                                        )       Case No. 23-40261-elm11
                                                          )
                                                          )
                 Debtor.                                  )       Emergency Hearing Requested


                DEBTOR’S EMERGENCY MOTION FOR ENTRY OF INTERIM AND
                     FINAL ORDERS AUTHORIZING THE USE OF CASH
                  COLLATERAL AND GRANTING ADEQUATE PROTECTION

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         COMES NOW SanoTech 360, LLC (“SanoTech” or the “Debtor”), as debtor-in-possession,

and pursuant to Bankruptcy Rule 4001(b), files Debtor’s Emergency Motion for Entry of Interim

and Final Orders Authorizing the Use of Cash Collateral and Granting Adequate Protection (the

“Motion”). In support of the Motion, the Debtor respectfully states as follows:

                                       JURISDICTION AND VENUE

         1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

case and all related matters have been referred to this Court pursuant to 28 U.S.C. § 157. This

Motion constitutes a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (D), (M) and (O).

Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.


Debtor’s Emergency Motion for Entry of Interim and Final Orders Authorizing the Use of
Cash Collateral and Granting Adequate Protection                                         PAGE 1
Case 23-40261-elm11            Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21           Desc Main
                                        Document     Page 2 of 22


                                               BACKGROUND

        2.       On January 29, 2023 (the “Petition Date”), the Debtor filed a voluntary petition

pursuant to Chapter 11 of the Bankruptcy Code.

        3.       The Debtor continues to manage and operate its business as a debtor in

possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee, examiner,

or committee has been appointed in this case.

                                           ABOUT THE DEBTOR

        4.       The Debtor manufactures high-quality, “smart” advanced electrostatic sprayers

designed to apply disinfectant more efficiently than conventional methods.

        5.       The Debtor’s business originated through E-Mist Innovations, Inc. (“E-Mist”) in

2009 when a high school in Goldthwaith, Texas, was experiencing a severe outbreak of the

H1N1 flu virus. To avoid closing, the school needed a faster and more effective means to apply

disinfectant to the many surfaces in the facility. Needing an innovative solution, the school’s

administration turned to E-Mist’s more efficient electrostatic sprayer as opposed to the

conventional, more labor-intensive methods. As a result, surfaces in the school became

healthier, children were able to return to class, and E-Mist was launched to help stop the spread

of unnecessary infections.

        6.       During the early years of its operation, E-Mist faced an uphill battle in convincing

customers to abandon traditional, deeply entrenched disinfection protocols for innovative E-

Mist’s products, despite the fact that E-Mist’s products were more efficient in making spaces

healthier and safer for people. Prior to E-Mist’s entry into the market, there were no instances of

the approval of wide area electrostatic disinfectant application by the Environmental Protection

Agency (EPA) or the World Health Organization (WHO).

        7.       In 2014, E-Mist’s products were used to disinfect the Dallas apartment of an

Ebola-stricken nurse and Texas Health Presbyterian Hospital in Dallas where the nurse had


Debtor’s Emergency Motion for Entry of Interim and Final Orders Authorizing the Use of
Cash Collateral and Granting Adequate Protection                                         PAGE 2
Case 23-40261-elm11            Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21           Desc Main
                                        Document     Page 3 of 22


contracted the Ebola virus treating a patient. E-Mist received global recognition for this

achievement leading to a better understanding of the benefits of E-Mist’s electrostatic

technology. E-Mist then expanded and began the further development of better and more

efficient products.

        8.       In early 2019 the assets of E-Mist were acquired by the Debtor.

        9.       Then, on December 12, 2019, the world changed. A cluster of patients in China’s

Hubei Province, in the city of Wuhan, began to experience the symptoms of an atypical

pneumonia-like illness that did not respond well to standard treatments. Soon, COVID-19 had

spread throughout the globe, disrupting activities across all economic sectors and industries.

On March 11, 2020, after more than 118,000 cases in 114 countries and 4,291 deaths, the

WHO declared COVID-19 a pandemic and turned the world upside down. As of December 9,

2022, more than 6,654,899 have died worldwide from COVID-19.

        10.      The pandemic brought about global economic supply chain disruptions, including

trade restrictions, factory closures, increased freight rates, and global shortages of materials.

Companies around the world poured resources into stopping COVID-19 and finding new ways

to allow businesses to operate safely. Out of necessity, this included changing the way people

cleaned and disinfected surfaces. Indeed, in the first year of the pandemic, national health

expenditures rose to $4.1 trillion. Not surprisingly, the demand for the Debtor’s products

boomed.

        11.      The COVID-19 pandemic created a virtually unlimited worldwide market for

disinfectant. In early 2020, in response to demands arising from the COVID-19 outbreak, the

Debtor ramped up its production capacity to meet the unprecedented global demand for

disinfectants. The Debtor’s sales increased from less than $250,000 in 2019 to nearly $59.0

million in 2020 – a 23,813% increase in sales. With no vaccine yet available, the Debtor and

many other companies, including Clorox and Proctor & Gamble, all greatly increased their


Debtor’s Emergency Motion for Entry of Interim and Final Orders Authorizing the Use of
Cash Collateral and Granting Adequate Protection                                         PAGE 3
Case 23-40261-elm11            Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21           Desc Main
                                        Document     Page 4 of 22


capacity to produce disinfectants, a costly process which included adding additional

manufacturing capacity and hiring more people, to meet the then unlimited global demand for

better and more efficient disinfectants.

        12.      On August 23, 2021, the FDA formally approved the first COVID-19 vaccine

which had become available under Emergency Use Authorization during late 2020 and early

2021. The availability of the vaccines led to a chain of events which again significantly altered

global economies and their response to COVID-19. As the vaccination of the population

became more common, the demand for sanitizers dropped significantly. Within months,

previously scarce commodities such as hand sanitizers, Clorox cleaning spray, and paper

towels were readily available in excess quantities and, in many instances, available for free.

The Debtor experienced the same drop in the demand for its products.

        13.      The pandemic required many companies, including the Debtor, to build-up their

inventory aggressively to meet demand. As demand tapered off, inventory-to-sales ratios fell

below historical averages as more and more of the population became vaccinated. Because of

this, the Debtor found itself with a massive inventory of product based on earlier orders and

forecasts before the vaccines became widespread and world-wide demand crashed. The

Debtor must now store this excess inventory without any clear path to liquidating it so that the

Debtor may generate cash to fund operations and pay creditors.

        14.      In response to these challenges, the Debtor has implemented a business

strategy designed to help offload the excess inventory, reduce costs, and streamline operations.

The Debtor has closed its manufacturing/distribution operations, reduced its workforce by 98%,

and adjusted pricing to help reduce costs. Unfortunately, these measures were not enough.

Ultimately, Debtor’s management concluded that the best path for the company to move forward

was to file a Chapter 11 reorganization case. In the Chapter 11 case, the Debtor will continue to

evaluate its business options to maximize the value of its assets and business. This will likely


Debtor’s Emergency Motion for Entry of Interim and Final Orders Authorizing the Use of
Cash Collateral and Granting Adequate Protection                                         PAGE 4
Case 23-40261-elm11            Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21                   Desc Main
                                        Document     Page 5 of 22


be done through a sale of the Debtor’s business and substantially all of its assets pursuant to

section 363 of the Bankruptcy Code. In this regard, the Debtor will seek bankruptcy court

authorization to retain SSG Advisors, LLC as its investment bankers to assist the Debtor with

the marketing and sale of its business and assets.

              ONLY ONE PARTY ASSERTS AN INTEREST IN CASH COLLATERAL

        15.      Texas Bank and Trust Company. The Debtor is the borrower pursuant to a

Revolving Loan and Security Agreement dated August 25, 2020 (the “Loan Agreement”) for a

$15 million loan (the “Loan”) between SanoTech, as borrower, and Texas Bank and Trust

Company (“Texas Bank” or “Lender”), as lender. In connection with the Loan Agreement, the

Debtor also executed a Revolving Note (“Note”) dated August 25, 2020, in the original principal

amount of Fifteen Million Dollars ($15,000,000.00), payable to Texas Bank. The Loan was

subsequently renewed, extended, and modified by a Loan Modification Agreement dated

August 25, 2021 (the “First Modification”), a Loan Modification Agreement dated December 20,

2021 (the “Second Modification”), a Loan Modification Agreement dated June 25, 2022 (the

“Third Modification”), a Loan Modification Agreement dated September 22, 2022 (the “Fourth

Modification,”) and a Fifth Loan Modification Agreement dated December 22, 2022 (the “Fifth

Modification”). Pursuant to the Third Loan Modification, Texas Bank’s funding commitment

under the Loan was reduced to $9,272,414.00. The Debtor estimates that it is currently

obligated to Texas Bank pursuant to the Note in the approximate amount of $8.03 million.

        16.      The Bank has filed two UCC-1 Financing Statements1 asserting a blanket lien

interest in the Debtor’s assets, including its accounts. Pursuant to its Financing Statements and




1Specifically, Texas Bank filed (i) a UCC-1 Financing Statement with the Texas Secretary of State on August 25,
2020 as Filing Number 20-0044878043, and (ii) a UCC-1 Financing Statement with the Texas Secretary of State on
October 25, 2022 as Filing Number 22-0052241442.



Debtor’s Emergency Motion for Entry of Interim and Final Orders Authorizing the Use of
Cash Collateral and Granting Adequate Protection                                                PAGE 5
Case 23-40261-elm11            Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21           Desc Main
                                        Document     Page 6 of 22


relevant loan documents, Texas Bank asserts a security interest in various of the Debtor’s

assets, including as applicable, the Debtor’s cash and cash equivalents (“Cash Collateral”).

                                            RELIEF REQUESTED

        17.      Pursuant to this Motion and section 363(c) of the Bankruptcy Code, the Debtor

seeks interim and final orders authorizing the use of Cash Collateral. The Debtor requests

authority to use Cash Collateral on an interim basis in accordance with the budget attached as

Exhibit A (the “Budget”), and in accordance with subsequent budgets hereafter approved by

the Court on a final basis.

        18.      In addition, under sections 361 and 363(e) of the Bankruptcy Code, the Debtor

seeks to grant adequate protection to the Lender in the form of replacement liens in the Debtor’s

assets that serve as prepetition collateral under Lender’s applicable loan documents (the

“Prepetition Collateral”) to the extent such lien interests in Prepetition Collateral are validly

perfected and not avoidable and to the extent that the Debtor’s use of Cash Collateral results in

the diminution in value of Lender’s interest in the Cash Collateral as of the Petition Date.

        19.      The relief requested herein is necessary to prevent immediate and irreparable

harm to the Debtor’s Chapter 11 estate and should provide sufficient funds to permit the Debtor

to continue to operate its business and to satisfy its payroll and other direct operating expenses.

The Debtor requests approval for the use of Cash Collateral in accordance with the Budget on

an interim basis (the “Interim Order”) and thereafter on a permanent basis (the “Final Order”). A

copy of the Debtor’s proposed Interim Order is attached hereto as Exhibit B.

                                             BASIS FOR RELIEF

        20.      The Debtor submits that all secured creditors asserting a security interest in

Cash Collateral, including Texas Bank, are adequately secured by their collateral and by

replacement liens as provided herein. The use of cash in deposit accounts and proceeds from

accounts receivable will allow the Debtor to pay essential operating expenses so that it may


Debtor’s Emergency Motion for Entry of Interim and Final Orders Authorizing the Use of
Cash Collateral and Granting Adequate Protection                                         PAGE 6
Case 23-40261-elm11            Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21           Desc Main
                                        Document     Page 7 of 22


continue operations and generate new receivables. The Debtor anticipates that its receivables

will retain their value during the bankruptcy case through continued operations. Moreover, to

the extent of any diminution in value of any valid security interest occasioned by the use of Cash

Collateral, the Debtor proposes to grant replacement liens in post-petition accounts receivable

and proceeds thereof in the same order of priority as presently existing in the Prepetition

Collateral.

        21.      The Debtor asserts that the interests of the secured creditors in Prepetition

Collateral are adequately protected. The Debtor’s continued use of the Prepetition Collateral

maximizes the position of all of the Debtor’s creditors. In the course of operations, the Debtor

will continue to sell inventory and other assets, generate and collect new receivables, and use

the proceeds for new services and operating expenses. Such ongoing operations benefit valid

secured creditors in that new accounts receivable will be created.

        22.      The Company has no material source of ongoing income other than from its

operations and the collection of accounts receivable. At the present time, an immediate and

critical need exists for the Debtor to be permitted access to funds in order to continue the

operation of its business, to pay employees, and to protect its ability to reorganize in

accordance with chapter 11 of the Bankruptcy Code.

        23.      Pursuant to section 363(c)(2)(B) of the Bankruptcy Code, the Debtor requests

that the Court authorize and approve the Debtor’s use of Cash Collateral for the payment of

operating expenses in accordance with the Budget and with subsequently approved budgets.

To remain in possession of its property, to continue business activities, and to achieve a

successful reorganization, the Debtor requests use of Cash Collateral in the Debtor’s ordinary

business operations. The Debtor believes that payment of operating expenses is reasonable

and that such payments will be for necessary business expenses that must be paid in order to

continue the Debtor’s business operations.


Debtor’s Emergency Motion for Entry of Interim and Final Orders Authorizing the Use of
Cash Collateral and Granting Adequate Protection                                         PAGE 7
Case 23-40261-elm11            Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21           Desc Main
                                        Document     Page 8 of 22


        24.      In the event the Court does not authorize the Debtor’s proposed use of Cash

Collateral, the Debtor believes that the Debtor will be unable to maintain its current business

operations and to confirm a plan of reorganization as contemplated by the Bankruptcy Code.

Without the use of Cash Collateral, the Debtor will be seriously and irreparably harmed,

resulting in significant losses to the Debtor’s estate and its creditors.

        25.      In filing this Motion, the Debtor does not admit that any creditor holds valid,

perfected, enforceable or unavoidable prepetition liens and security interest in and to any of the

Prepetition Collateral. The Debtor does not waive the right to contest the validity, perfection,

enforceability or avoidability of the any creditor claims, liens and security interests in and to the

Prepetition Collateral.

                                        APPLICABLE AUTHORITY

        26.      One of the Debtor’s most pressing concerns is the need for immediate use of

Cash Collateral pending a final hearing on this Motion. Rule 4001(b) and (c) of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) provide that a final hearing on a motion

to use cash collateral pursuant to section 363 of the Bankruptcy Code may not be commenced

earlier than fifteen (15) days after the service of such motion. See Fed. R. Bankr. P. 4001(b)

and (c); 11 U.S.C. 363. Upon request, however, the Court is empowered to conduct a

preliminary expedited hearing on the motion and authorize the restricted use of cash collateral

to the extent necessary to avoid immediate and irreparable damage to the Debtor’s estate. The

Debtor requires use of Cash Collateral to pay present operating expenses, including for payroll,

rent and supplies to ensure a continued supply of goods and services essential to the Debtor’s

continued viability.

        27.      The Debtor requests immediate authority to use the Cash Collateral to fund the

Debtor’s day-to-day operations. Absent such relief, the Debtor will not be able to continue to

operate its business. In sum, failure to obtain authorization for the use of the Cash Collateral


Debtor’s Emergency Motion for Entry of Interim and Final Orders Authorizing the Use of
Cash Collateral and Granting Adequate Protection                                         PAGE 8
Case 23-40261-elm11            Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21           Desc Main
                                        Document     Page 9 of 22


will be disastrous to the Debtor and its creditors. Entry of an order authorizing the use of Cash

Collateral will minimize disruption to the Debtor’s business and operations and permit the

Debtor to meet payroll and other operating expenses. Absent use of the Cash Collateral, the

Debtor’s estate would not have sufficient funds to satisfy ongoing business obligations.

Allowing use of Cash Collateral, therefore, is in the best interest of the Debtor’s estate.

        28.      The use of Cash Collateral and the adequate protection proposed herein is fair

and reasonable under the circumstances, reflects the Debtor’s exercise of prudent business

judgment, and is supported by reasonably equivalent value and fair consideration. Also, the

adequate protection proposed herein in the form of replacement liens, in addition to existing

liens in the Prepetition Collateral, is sufficient to protect the interests of affected secured

creditors. As such, the Debtor should be afforded protection equivalent to those provided in

section 364(e) of the Bankruptcy Code.

                                                    NOTICE

        29.      Notice of this Motion will be provided to (i) the Office of the United States Trustee

for the Northern District of Texas; (ii) all known secured creditors; (iii) the holders of the twenty

(20) largest unsecured claims against the Debtor; and (iv) parties requesting notice; all as set

forth below. The Debtor submits that no further notice need be provided.

                                                CONCLUSION

        30.      The relief requested herein should ensure that the Debtor’s Chapter 11 estate

has sufficient resources to commence its Chapter 11 case and to provide a seamless transition

to operating the Debtor’s business as a debtor-in-possession. The Debtor requests that the

Court grant the Motion.




Debtor’s Emergency Motion for Entry of Interim and Final Orders Authorizing the Use of
Cash Collateral and Granting Adequate Protection                                         PAGE 9
Case 23-40261-elm11             Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21           Desc Main
                                        Document      Page 10 of 22


         WHEREFORE, the Debtor respectfully requests that the Court (i) grant the Motion; (ii)

enter an Interim Order permitting the Debtor to use Cash Collateral consistent with the Budget;

(iii) after a final hearing on this Motion, enter a Final Order permitting the Debtor to use Cash

Collateral on a final basis as provided herein; (iv) grant affected secured creditors replacement

liens as provided herein; and (v) grant all such other and further relief as is just and proper. A

copy of the Debtor’s proposed Interim Order is attached hereto as Exhibit B.

Dated: January 29, 2023.                               Respectfully submitted,


                                                       /s/ J. Robert Forshey
                                                       J. Robert Forshey
                                                       State Bar No. 07264200
                                                       Lynda L. Lankford
                                                       State Bar No. 11935020
                                                       FORSHEY & PROSTOK, L.L.P.
                                                       777 Main Street, Suite 1290
                                                       Fort Worth, Texas 76102
                                                       Phone: (817) 877-8855
                                                       Fax: (817) 877-4151
                                                       bforshey@forsheyprostok.com
                                                       llankford@forsheyprostok.com

                                                       PROPOSED ATTORNEYS FOR THE
                                                       DEBTOR AND DEBTOR-IN-POSSESSION



                                         CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served upon
the office of the United States Trustee for the Northern District of Texas, the secured lenders, the
holders of the twenty (20) largest unsecured claims against the Debtor, and parties filing a notice
of appearance, at the addresses reflected on the attached Service List, via ECF electronic Notice,
if available, on January 29, 2023 and via United States Mail, first class postage prepaid on
January 30, 2023.


                                                       /s/ J. Robert Forshey
                                                       J. Robert Forshey


L:\BFORSHEY\SanoTech 360 Mtg #6345\Pleadings\Motion to use Cash Collateral 1.29.23.docx




Debtor’s Emergency Motion for Entry of Interim and Final Orders Authorizing the Use of
Cash Collateral and Granting Adequate Protection                                          PAGE 10
Case 23-40261-elm11   Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21   Desc Main
                              Document      Page 11 of 22




                              Exhibit A
                              [Budget]
                                 Case 23-40261-elm11           Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21                      Desc Main
                                                                                PROJECT HAI, LLC
                                                                       Document        Page 12 of 22

DBA: EMIST                                  Jan 30 ‐ Feb 5              Feb 6 ‐ Feb 12            Feb 13 ‐ Feb 19          Feb 20 ‐ Feb 27
CASH FLOW PROJECTION                          BUDGET         ACTUAL       BUDGET         ACTUAL      BUDGET       ACTUAL      BUDGET       ACTUAL     BUDGET        ACTUAL

Sales                                       $ 22,500.00                 $ 25,000.00               $ 22,500.00              $   25,000.00            $ 95,000.00

Account Receivable Collections ‐ Receipts   $ 12,500.00                 $ 22,000.00               $ 22,500.00              $   20,000.00            $ 77,000.00




SUMMARY OF WEEKLY CASH OUTFLOW

Payroll Gross                               $         ‐                 $ 13,469.23               $        ‐               $   13,469.23            $ 26,938.47
Employer Payroll Taxes                      $         ‐                 $ 1,900.00                $        ‐               $    1,900.00            $ 3,800.00
Health Insurance                                                        $ 2,856.00                                         $    2,856.00            $ 5,712.00
Contract Labor                              $    1,500.00               $ 1,500.00                $   1,500.00             $    1,500.00            $ 6,000.00
Processing Repairs & Warranty Orders        $      750.00               $    750.00               $     750.00             $      750.00            $ 3,000.00
Warehouse Supplies                          $      500.00               $    500.00               $     500.00             $      500.00            $ 2,000.00
Telephone Expense                           $      250.00               $    250.00               $     250.00             $      250.00            $ 1,000.00
Waste Disposal                              $      200.00               $    200.00               $     200.00             $      200.00            $    800.00
Utilities                                   $      450.00               $    450.00               $     450.00             $      450.00            $ 1,800.00
Property Rent                                                           $ 8,900.00                                                                  $ 8,900.00
Shipping Cost                               $    1,000.00               $ 1,000.00                $   1,000.00             $    1,000.00            $ 4,000.00
Inventory Storage Fees                      $      900.00               $    900.00               $     900.00             $      900.00            $ 3,600.00
Insurance Cost                              $    1,000.00               $ 1,000.00                $   1,000.00             $    1,000.00            $ 4,000.00
Travel & Meals                              $      175.00               $    175.00               $     175.00             $      175.00            $    700.00
Marketing/Advertising                       $      300.00               $    300.00               $     300.00             $      300.00            $ 1,200.00
Office Supplies                             $      125.00               $    125.00               $     125.00             $      125.00            $    500.00
Miscellaneous Cost                          $      750.00               $    750.00               $     750.00             $      750.00            $ 3,000.00

Sub Total of Direct cost                    $    7,900.00               $ 35,025.23               $   7,900.00             $   26,125.23            $ 76,950.47

Indirect Cost
Professional Fees                           $         ‐                 $         ‐               $        ‐               $    5,000.00            $ 5,000.00
Trustee Fees                                $         ‐                 $         ‐               $        ‐               $         ‐              $       ‐
Investment Banker Fees                      $         ‐                 $         ‐               $        ‐               $   20,000.00            $ 20,000.00
                                                                                                                                                    $       ‐
Sub Total of Indirect cost                  $         ‐                 $         ‐               $        ‐               $   25,000.00            $ 25,000.00

Total Disbursements                         $    7,900.00               $ 35,025.23               $   7,900.00             $   51,125.23            $ 101,950.47


Net Weekly Surplus / (deficit)              $    4,600.00               $ (13,025.23)             $ 14,600.00              $   (31,125.23)          $ (24,950.47)

Beginning Balance of Cash                   $   32,550.00               $ 37,150.00               $ 24,124.77              $   38,724.77

Projected Cash Balance                      $   37,150.00               $ 24,124.77               $ 38,724.77              $    7,599.53
Case 23-40261-elm11   Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21   Desc Main
                              Document      Page 13 of 22




             Exhibit B
      [Proposed Interim Order]
Case 23-40261-elm11              Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21                      Desc Main
                                         Document      Page 14 of 22




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION


In re:                                                      )        Chapter 11 Case
                                                            )
SANOTECH 360, LLC,                                          )        Case No. 23-40261-elm11
                                                            )
                                                            )
                    Debtor.                                 )


           INTERIM ORDER GRANTING DEBTOR’S EMERGENCY MOTION FOR ENTRY
              OF INTERIM AND FINAL ORDERS AUTHORIZING THE USE OF CASH
                   COLLATERAL AND GRANTING ADEQUATE PROTECTION

           On this day the Court considered the Debtor’s Emergency Motion for Entry of Interim and

Final Orders Authorizing the Use of Cash Collateral and Granting Adequate Protection [Docket

No. __] (the “Motion”)1 filed by SanoTech 360, LLC (the “Debtor”). Having reviewed the Motion

and having determined that the legal and factual bases set forth in the Motion establish just cause

for the relief granted herein and that such relief is necessary to avoid immediate and irreparable

harm; and based on the evidence presented and the arguments of counsel at a hearing on the

Motion, the Court hereby finds:


1
    Any capitalized terms not otherwise defined herein have the meaning ascribed to such terms in the Motion.


                                                           1
Case 23-40261-elm11         Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21               Desc Main
                                    Document      Page 15 of 22


        On January 29, 2023 (the “Petition Date”), the Debtor filed a voluntary petition under

Chapter 11 of the United States Bankruptcy Code (the “Code”) in this Court. The Debtor continues

to manage and operate its business as a debtor-in-possession pursuant to sections 1107 and

1108 of the Code.

        This Court has jurisdiction over this case and the Motion pursuant to 28 U.S.C. §§ 157(b)

and 1334. Consideration of the Motion constitutes a core proceeding as defined in 28 U.S.C. §

157(b)(2).

        The Debtor asserts that it will suffer irreparable and immediate harm if it is not granted the

relief herein. The Debtor further asserts that an immediate and critical need exists for the Debtor

to use funds in order to continue the operation of its business and that, without such funds, the

Debtor will not be able to pay the direct operating expenses needed to carry on its business during

this sensitive period in a manner that will avoid irreparable harm to the Debtor’s estate. The

Debtor asserts that, at this time, the Debtor’s ability to use Cash Collateral is vital to the confidence

of the Debtor’s vendors and suppliers of goods and services, and to the preservation and

maintenance of the going concern value of the Debtor’s estate.

        Good cause has been shown for the entry of this Order. The Court finds that the notice

of the Motion and the Hearing on the Motion was sufficient under the circumstances. Entry of this

Order is justified and appropriate under the circumstances. Entry of this Order is in the best

interest of the Debtor’s estate.

        IT IS THEREFORE ORDERED AND ADJUDGED as follows:

        1.      Use of Cash Collateral. Subject to the terms of this Order, the Debtor is hereby

authorized to use Cash Collateral during the period (the “Budget Period”) beginning January 30,

2023 and ending February 26, 2023, or as provided in any subsequent Interim or Final Order on

the Motion. The Debtor is authorized to use Cash Collateral only in the amounts and for the

expenses and disbursements set forth in the Budget attached hereto as Exhibit A, subject to the

Budget Variance (defined below). The Debtor shall not incur expenses or use Cash Collateral in


                                                   2
Case 23-40261-elm11        Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21             Desc Main
                                   Document      Page 16 of 22


an amount that exceeds by more than ten percent (10%) the total expenses provided in the

Budget for the Budget Period (the “Budget Variance”). For the avoidance of doubt, to the extent

the Court authorizes the Debtor to honor prepetition obligations, such amounts will not be counted

towards the maximum allowance for expenses in the Budget.

       2.      Replacement Liens.         Except as otherwise provided herein, as adequate

protection to Texas Bank and Trust Company (“Lender”) for the Debtor’s use of Cash Collateral

as permitted herein, to the extent that the Debtor’s use of Cash Collateral results in a diminution

in value of the Lender’s interest in the Cash Collateral as of the Petition Date, Lender is granted

a replacement lien (“Replacement Lien”) in the Debtor’s assets that serve as collateral under

Lender’s applicable agreements, in the same order of priority that existed as of the Petition Date

(the “Replacement Collateral”).

       3.      Post-Petition Liens. Subject to the entry of a final order on the Motion, Lender

shall be entitled to all of the rights and benefits of section 552(b) of the Bankruptcy Code and the

“equities of the case” exception under section 552(b) of the Bankruptcy Code shall not apply to

Lender with respect to the proceeds, product, offspring, or profits with respect to any Prepetition

Collateral. To the extent it has a valid security interest as of the Petition Date, Lender shall have

a post-petition security interest in the proceeds, products, offspring or profits of any such property

acquired by the Debtor after the Petition Date.

       4.      No Lien Upon Avoidance Actions.            Notwithstanding anything herein to the

contrary, the Replacement Liens do not extend to the Debtor’s transfer or lien avoidance rights

and claims under Sections 544, 545, 547, 548, 549 or 550 of the Bankruptcy Code.

       5.      Adequate Protection – Superpriority Administrative Claim.               As additional

partial adequate protection for the Debtor’s use of Cash Collateral, to the extent of any diminution

in value and a failure of the other adequate protection provided by this Order, the Lenders shall

have an allowed superpriority administrative expense claim in this case and any successor case




                                                  3
Case 23-40261-elm11         Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21             Desc Main
                                    Document      Page 17 of 22


as provided in and to the fullest extent allowed by Sections 503(b) and 507(b) of the Bankruptcy

Code (“Superpriority Claim”).

       6.      Carve-Out. Notwithstanding anything herein to the contrary, the Replacement

Liens and Superpriority Claim are subject and subordinate to a carve-out of funds (the “Carve

Out”) for: (a) all fees required to be paid to the Clerk of the Bankruptcy Court, (b) all fees required

to be paid to the Office of the United States Trustee pursuant to Section 1930(a) of Title 28, United

States Code, and (c) all fees and expenses of the Debtor’s professionals, including ordinary

course professionals, to the extent such fees and expenses are provided for in the Budget or any

subsequent budgets and allowed by Order of the Bankruptcy Court .

       7.      Perfection of Liens. The Replacement Liens are, and shall be, valid, perfected,

enforceable and effective as of the Petition Date without the need for any further action by the

Debtor or the Lenders, or the necessity of execution or filing of any instruments or agreements.

       8.      Survival. The terms and provisions of this Order inure to the benefit of, and are

binding upon, the Debtor, the Lender, and creditors of the Debtor, and their respective successors

and assigns, including, without limitation, any trustee or legal representative of the Debtor

appointed in this case or in any superseding case under Chapter 7 of the Code. This Order is

immediately valid and fully effective upon entry by this Court.

       9.      No Waiver. Nothing in this Order shall prejudice or waive the right of the Debtor

or any other party to contest the amount, validity, or avoidability of the Lender’s claims and

security interests. Further, nothing in this order shall prejudice or waive the right of the Lender to

object or contest the further use of Cash Collateral after the Budget Period.

       10.     Final Hearing. A hearing to consider final approval of the Motion is hereby set for

___________, _____________ __, 2023 at ____ _.m. Counsel for the Debtor shall file a notice

of hearing and serve it on all parties reflected on the service list.

       11.     Retention of Jurisdiction. This Court shall retain jurisdiction over any and all

matters arising from or related to the implementation or interpretation of this Order.


                                                   4
Case 23-40261-elm11             Doc 5      Filed 01/29/23 Entered 01/29/23 17:29:21                       Desc Main
                                         Document      Page 18 of 22


         12.      Immediate Relief. The Debtor has established that the relief granted herein is

necessary to avoid immediate and irreparable harm as required by Bankruptcy Rules 4001(b)(2)

and 6003.

                                            ### END OF ORDER ###

L:\BFORSHEY\SanoTech 360 Mtg #6345\Pleadings\Interim Order Granting Use of Cash Collateral 1.29.23.docx




                                                           5
Case 23-40261-elm11   Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21   Desc Main
                              Document      Page 19 of 22




                            EXHIBIT A
                 [Interim Cash Collateral Budget]
                                 Case 23-40261-elm11           Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21                      Desc Main
                                                                                PROJECT HAI, LLC
                                                                       Document        Page 20 of 22

DBA: EMIST                                  Jan 30 ‐ Feb 5              Feb 6 ‐ Feb 12            Feb 13 ‐ Feb 19          Feb 20 ‐ Feb 27
CASH FLOW PROJECTION                          BUDGET         ACTUAL       BUDGET         ACTUAL      BUDGET       ACTUAL      BUDGET       ACTUAL     BUDGET        ACTUAL

Sales                                       $ 22,500.00                 $ 25,000.00               $ 22,500.00              $   25,000.00            $ 95,000.00

Account Receivable Collections ‐ Receipts   $ 12,500.00                 $ 22,000.00               $ 22,500.00              $   20,000.00            $ 77,000.00




SUMMARY OF WEEKLY CASH OUTFLOW

Payroll Gross                               $         ‐                 $ 13,469.23               $        ‐               $   13,469.23            $ 26,938.47
Employer Payroll Taxes                      $         ‐                 $ 1,900.00                $        ‐               $    1,900.00            $ 3,800.00
Health Insurance                                                        $ 2,856.00                                         $    2,856.00            $ 5,712.00
Contract Labor                              $    1,500.00               $ 1,500.00                $   1,500.00             $    1,500.00            $ 6,000.00
Processing Repairs & Warranty Orders        $      750.00               $    750.00               $     750.00             $      750.00            $ 3,000.00
Warehouse Supplies                          $      500.00               $    500.00               $     500.00             $      500.00            $ 2,000.00
Telephone Expense                           $      250.00               $    250.00               $     250.00             $      250.00            $ 1,000.00
Waste Disposal                              $      200.00               $    200.00               $     200.00             $      200.00            $    800.00
Utilities                                   $      450.00               $    450.00               $     450.00             $      450.00            $ 1,800.00
Property Rent                                                           $ 8,900.00                                                                  $ 8,900.00
Shipping Cost                               $    1,000.00               $ 1,000.00                $   1,000.00             $    1,000.00            $ 4,000.00
Inventory Storage Fees                      $      900.00               $    900.00               $     900.00             $      900.00            $ 3,600.00
Insurance Cost                              $    1,000.00               $ 1,000.00                $   1,000.00             $    1,000.00            $ 4,000.00
Travel & Meals                              $      175.00               $    175.00               $     175.00             $      175.00            $    700.00
Marketing/Advertising                       $      300.00               $    300.00               $     300.00             $      300.00            $ 1,200.00
Office Supplies                             $      125.00               $    125.00               $     125.00             $      125.00            $    500.00
Miscellaneous Cost                          $      750.00               $    750.00               $     750.00             $      750.00            $ 3,000.00

Sub Total of Direct cost                    $    7,900.00               $ 35,025.23               $   7,900.00             $   26,125.23            $ 76,950.47

Indirect Cost
Professional Fees                           $         ‐                 $         ‐               $        ‐               $    5,000.00            $ 5,000.00
Trustee Fees                                $         ‐                 $         ‐               $        ‐               $         ‐              $       ‐
Investment Banker Fees                      $         ‐                 $         ‐               $        ‐               $   20,000.00            $ 20,000.00
                                                                                                                                                    $       ‐
Sub Total of Indirect cost                  $         ‐                 $         ‐               $        ‐               $   25,000.00            $ 25,000.00

Total Disbursements                         $    7,900.00               $ 35,025.23               $   7,900.00             $   51,125.23            $ 101,950.47


Net Weekly Surplus / (deficit)              $    4,600.00               $ (13,025.23)             $ 14,600.00              $   (31,125.23)          $ (24,950.47)

Beginning Balance of Cash                   $   32,550.00               $ 37,150.00               $ 24,124.77              $   38,724.77

Projected Cash Balance                      $   37,150.00               $ 24,124.77               $ 38,724.77              $    7,599.53
         Case 23-40261-elm11        Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21     Desc Main
                                            Document      Page 21 of 22
Limited Service List                   SanoTech 360, LLC                    Erin Schmidt, Trial Attorney
SanoTech 360, LLC                      Attn: George R. Robertson, CEO       Office of the U.S. Trustee
                                       6795 Corporation Parkway             1100 Commerce St., Room 976
#6345                                  Fort Worth, TX 76126                 Dallas, TX 75202


Elizabeth Young, Trial Attorney        Texas Bank and Trust Company         Texas Bank and Trust Company
Office of the U.S. Trustee             Attn: Shane Best                     c/o Patrick Schurr
1100 Commerce St., Room 976            300 E. Whaley                        Sheef & Stone
Dallas, TX 75202                       Longview, TX 75601                   2600 Network Blvd., Suite 400
                                                                            Frisco, TX 75034


Texas Comptroller                      Tarrant County                       Fort Worth ISD
PO Box 13528                           100 E Weatherford St.                100 N University Dr.
Austin, TX 78711                       Fort Worth, TX 76196                 Fort Worth, TX 76107



Internal Revenue Service
Centralized Insolvency Operations
PO Box 21126
Philadelphia, PA 19114-0326




                                     20 Largest Unsecured Creditors


All Metals Fabricating                 Allied Electronics                   AUSPI Group
200 Allentown Parkway                  PO Box 841811                        417 S. Associated Rd.
Allen, TX 75002                        Dallas, TX 75284-1811                Suite 102
                                                                            Brea, CA 92821


Buckeye Corrugated                     CDW Direct                           Classic Sheet Metal, Inc.
PO Box 840931                          PO Box 75723                         Purchasing
Dallas, TX 75284-0931                  Chicago, IL 60675-5723               1515 W. Wrightwood Ct.
                                                                            Addison, IL 60101


FedEx                                  Flextronics America, LLC             Foley & Lardner LLP
PO Box 660481                          1000 Technology Dr. West             2021 McKinny Avenue
Dallas, TX 75266-0481                  Columbia, SC 29170                   Dallas, TX 75201



Healthcare Surfaces Institute          Hydradyne, LLC.                      JTaylor
1156 Heritage Dr                       15050 FAA Blvd                       4800 Overton Plaza
Stevensville, MT 59870                 Fort Worth, TX 76155-2215            Fort Worth, TX 76109-4430



Maxon Precision Motors                 Micronel USA Inc.                    Piller Aimmco
125 Dever Drive                        Rick Asal                            3925 S Grant St.
Taunton, MA 02780                      12115 Insurance Way                  Washougal, WA 98671
                                       Hagerstown, MD 21740
        Case 23-40261-elm11      Doc 5     Filed 01/29/23 Entered 01/29/23 17:29:21   Desc Main
                                         Document      Page 22 of 22
RIM Manufacturing, LLC              Ryan Tax Compliance Services, LLC    TCS Micropumps Highfield,
901 West I-20                       Three Gallery Tower                  Faversham Road Ospringe
Weatherford, TX 76087               13155 Noel Road, Suite 100           ME13 0SF United Kingdom
                                    Dallas, TX 75240


Team Manufacturing - East West      The Specialty Mfg. Co.
4170 Ashford Dunwoody Rd.           Scott Rische
Suite 560                           5858 Centerville Rd.
Atlanta, GA 30319                   St. Paul, MN 55127




                                   NOTICES OF APPEARANCE
